Case 6:18-bk-05944-CC.] Doc 24 Filed 11/15/18 Page 1 of 4

UN|TED STATES BANKRUPTCY COURT F l LE D

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|n re: Case No. 61 18-bk~05944-CCJ
Bonnie K Kurowski~Alicea Chapter 7
Thomas A Alicea

Debtor

AMENDED ORDER
MOTION TO RE|NSTATE CASE

The debtors have been working diligently to re-instate the case and move it forward. The last filing was
complete with the current mailing matrix attached from the clerk, however, when it went to the Judge,
it appears that the matrix was not attached to the new filing. Whereas, the debtors are attempting to
file this again.

ln accordance with local rule 9013-1 =€, this notice should remedy the deficiency and the case can , / W§
proceed. 7LL chme m me exlSQ ata,%_)€.s%i§ +‘> '°»H€ /\A 4L1 oak/wmc S Lay» LW G°l"' 'L' )

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Attached:

1. Matrix supplied by clerk
2. £opy-of»t-he-letter-that'went'to“the-creditors ,/\¢»»`\- mg_l\w.,{ {7,,,» @`¢,LL.

3. Certification of service

Thank you.

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United States Bankru_ptcy Court

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Debhor(s)

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ldmtiiution (lTlN) No(s)., (ifxny):

mm Tax-ldentiieatioo (ED_I) No(a). (if any)

 

Certificate of Service _

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Case 6:18-bl<-05944-CC.] Doc 24 Filed 11/15/18 Page 3 of 4

Label Matrix for local noticing
113A-6

Case 6:18-bk-05944-CCJ

Hiddle Dist:ict of Florida
Orlandc

Thu Nuv 15 12:55:45 EST 2018

Santander Cons\mer USA Inc., dba Chrysler Ca

c/c Ste\cart, Zliman & Jungers, Lt.d.
2860 Patton Road
Roseville, MN 55113-1100

ARH SOLUTIONS
1224 HINTER GARDEN VINELAND RD STE 112
WI\|TER GARDEN FL 3478'|-4450

CARE CREDIT
PO BOX 960061
ORLANDO FL 32896-0061

ED FINANCIAL
PO BOX 36008
KNOXVILLE TN 37930-6008

IRS
PO BGX 931000
LOUISVILLE KY 40293-1000

(p)M&T BANK

LEGAL DOCUMENT PROCESSING
626 CUHERCE DRIVE
AHHERST NY 14228-2307

MR COOPER
P0 BOX 60516
CIT¥ OF INDUSTRY C.\ 91716-0516

PEP BGYS
PO BOX 960061
ORLANDO FL 32096-0061

ROOMS 2 GO
PO BOX 960061
ORLANDO FL 32896-0061

Florida Dept of Revenue
P.U. Box 6668
Tallahassee, FL 32314-6668

AHERICAN PROFIT RECOVERY
24505 ll 12 MILE BD STE 333
FARMINGTON HILLS WI 48331

(p) cmsm
po aox 190034
sr mms no 63119-0034

CHASE PRIME
PO BOX 1423
CHARLOTTE NC 20201-1423

Florida Department of Revenue
Bankruptcy Unit

Fost office Box 6668
Tallahassee FL 32314-6668

KANES
PO BOX 960061
ORLANDO FL 32896-0061

MAYO CLINIC
4500 SAN PABLO RD
JACKSONVILLE FL 32224-3899

NAVIENT
PO BOX 9500
WILKES BARRE PA 18773-9500

RADIANT CASH
PO BOX 1183
LAC DU FLAHBOANE WI 54538-1183

SMILE DESIGN
810 il DESOTO ST
CLERHONT FL 34711-2110

IRS

Ceotralized Insolvency Operations
P.O. Box 7346

Philadelphia, PA 19101-1346

AMERICAN WEB LOAN
2128 NORTH 14TH ST #1 BOX 130
PONCA CITY OK 74601-1831

CAPITAL ONE
PO BOX 60599
CITY OF INDUSTRY CA 91716-0599

CHRYSLER FINANCIAL
PO BOX 660335
DALLAS TX 75266-0335

HARRIS & HARRIS
111 W JACKSON BLVD STE 400
CHICAGO IL 50604-4135

Lake Counl'.y Tax Collect.or
Ai:tn: Bob McKee

Post Office Box 327
Tavares FL 32778-0327

HERIT FINANCIAL TRUST
PO BOX 204
BATESLAND SD 57716-0204

NAVY FEDERAL
PO BOX 3000
MERRIVILLE VA 22119

RIVER LINK
103 QUARTERMASTER CT
JEFFERSONVILLE NC 47130-3627

United States Trustee - 0RL'I/13
Office of the united States Trustee
George C Young Federal Huilding

400 Hest Washing'ton Street, Suite 1100
Orlando, FL 32801-2210

 

CaSe 6218-bl<-05944-CC.] DOC 24

VERNA LAW
80 TREODORE FREMA AVE
RYE NY 10580-2891

Carle P Musselman
1619 Druid Road
Msi'cland, FL 32751-4211

ZALES
PO BOX 659819
SAN ANTONIO TX 78265-9119

Thonas Anthony Alicea
3033 Ssnta Msria Ave
Clermant, E'L 34115-8024

Filed 11/15/18 Page 4 of 4

Bonnie K Kuzo\vski-Alicea
3033 Santa Maria Ave
Clermont, FL 34715-8024

The preferred mailing address (p) above has bean substituted for the follo\¢ing entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and E'ed.R.Bank.P. 2002 (g) (4).

BEST BUY
PO EOX 78009
PHOENIX AZ 85062

H&T BANK
PO BOX 64679
BALTIM)RE M 21264

End of Label Matrix

Mailahle recipients 34
Bypassed recipients 0
Total 34

 

